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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                )       Case №: 2:16-cr-00215-KJM-2
                                              )
 9                  Plaintiff,                )
                                              )                    ORDER
10           vs.                              )               APPOINTING COUNSEL
                                              )
11   JOSE DOLORES LOPEZ PINA,                 )
                                              )
12                  Defendant.                )
                                              )
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14
             The court relieved Mr. Lopez Pina’s appointed CJA panel attorney, Dustin D. Johnson,
15   on January 16, 2019 and referred the matter to the CJA Panel Administrator. CJA Panel attorney
     Shari Rusk accepted appointment and is hereby appointed effective January 17, 2019, the date
16   the Office of the Federal Defender first contacted her.
17          APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT

18   SUPPORTING APPOINTMENT.

19   DATED: 1/24/2019
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21                                                HON. EDMUND F. BRENNAN
                                                  United States Magistrate Judge
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